Case 1:16-CV-21317-.].]O Document 5 Entered on FLSD Docket 04/18/2016 Page 1 of 17

UNITED STATES DISTRICT COURT
SOU'I`HERN DISTRICT OF FLORIDA
CASE NO. 2016-ClV-213 l7-FAM
KATHERY LOBAINA,

Plaintiff,
v.

MATTRESS FIRM, INC.

a Foreign Profit Corporation, and
STAGNER, R. STEPHEN, Individually,

Defendant.
/
DEFENDANTS’ ANSWER AND DEFENSES TO PLAINTIFF’S COMPLAINT

Defendants Mattress Firrn, lnc. and R. Stephen Stagner, pursuant to Fed. R. Civ. P. 12
and 81(0), answer the numbered paragraphs of the Complaint servedl by Plaintiff Kathery
Lobaina and present the following defenses:

l. Defendants admit that Plaintiff is seeking damages exceeding $15,000.()()
excluding attorneys’ fees or costs under Title Vll of the Civil Rights Act of 1964, 42 U.S.C. §
2000e-2 (“Title Vll”) the Florida Civil Rights Act of 1992, Florida Statutes, Chapter 760, et seq.
(the “FCRA”) for alleged sexual harassment, gender discrimination and retaliation, and under the
Fair Labor Standards Act, 29 U.S.C. §§ 201-219 (the “FLSA”) for alleged unpaid Wages.
Otherwise, denied. Defendants specifically deny that any action has occurred that Would entitle

Plaintiff to any relief under those statutes

 

l Defendants are responding to the Complaint served on Mattress Firm, Inc. on March 24, 2016. This
Complaint Was never filed in the Couit. Plaintiff filed a VI count Complaint on January 20, 2016.
However, the filed complaint Was never served on either Defendant.

Case 1:16-CV-21317-.].]O Document 5 Entered on FLSD Docket 04/18/2016 Page 2 of 17

2. Defendants are without knowledge sufficient to form a belief as to Plaintiff’s
allegation in this paragraph, and it therefore deny it.

3. Admitted.

4. Defendants admit that R. Stephen Stagner is a corporate officer and that he
exercised decisionmaking authority within his role with the company. Defendants deny that he
exercised operational control over the activities of Mattress Firm, Inc. as it relates to the
allegations raised in the Complaint and/or as required for individual liability under the FLSA.

5. Defendants admit that venue is proper in the Miami Division of this Court

because all of the actions complained of in Plaintiff’s complaint allegedly occurred within Miami
Dade County. Defendants specifically deny that any action has occurred that would entitle
Plaintiff to any relief.

6. Defendants are without knowledge as to the allegations in this paragraph and

therefore deny them.

“FACTUAL ALLEGATIONS COMMON TO ALL COUNTS”

7. Defendants admit that Plaintiff is female. Otherwise, denied as to legal
conclusions
8. Defendants admit that Plaintiff commenced employment as a Manager-In~

Training on or about July 10, 2014, otherwise denied.

9. Denied.
lO. Denied.
l l. Denied.
12. Denied.
13. Denied.

Case 1:16-CV-21317-.].]O Document 5 Entered on FLSD Docket 04/18/2016 Page 3 of 17

l4. Admitted.

l 5 . Denied.

16. Defendants are without knowledge sufficient to form a belief as to Plaintiffs
allegations in this paragraph, and they therefore deny them.

17. Defendants are without knowledge sufficient to form a belief as to Plaintiff’ s
allegation in this paragraph, and they therefore deny it.

“COUNT I - PLAINTIFF’S CLAIM OF SEXUAL HARASSMENT IN VIOLATION OF
TITLE VII AGAINST MATTRESS FIRM. INC.”

18. Defendants repeat and incorporate by reference their responses to Paragraphs l-l 7
as if set forth in hill herein.

l9. Defendants admit that Plaintiff is female. Otherwise, denied as to the legal
conclusion

20. There is no factual averment in this paragraph, so no response is required To the

extent this paragraph contains facts, they are denied.

21 . Denied.
22. Denied.
23. Denied.
24. Denied.
25. Denied.
26. Denied.
27. Denied.
28. Denied.
29. Denied.

Case 1:16-CV-21317-.].]O Document 5 Entered on FLSD Docket 04/18/2016 Page 4 of 17

Defendants deny that Plaintiff is entitled to any of the relief requested in the unnumbered
“WHEREFORE” clause following Paragraph 29 of Plaintiff’ s Complaint.

“COUNT II - PLAINTIFF’S CLAlM OF SEXUAL HARASSMENT IN VIOLATION OF
THE FCRA AGAINST MATTRESS. INC.”

30. Defendants repeat and incorporate by reference their responses to Paragraphs l-l 7
as if set forth in full herein

3 l. Defendants admit that Plaintiff is female. Otherwise, denied as to the legal
conclusion

32. There is no factual averment in this paragraph, so no response is required. To the

extent this paragraph contains facts, they are denied.

3 3 . Denied.
34. Denied.
3 5. Denied.
36. Denied.
37. Denied.

Defendants deny that Plaintiff is entitled to any of the relief requested in the unnumbered
“WHEREFORE” clause following Paragraph 37 of Plaintiff"s Amended Complaint.

“COUNT III - PLAINTIFF’S CLAIM FOR GENDER DISCRIMINATION IN
VIOLATION OF TITLE VlI AGAINST MATTRESS, INC.”

38. Defendants repeat and incorporate by reference its responses to Paragraphs l-l7
as if set forth in full herein

39. Defendants admit that Plaintiff is female. Otherwise, denied as to the legal
conclusion

40. Denied.

Case 1:16-CV-21317-.].]O Document 5 Entered on FLSD Docket 04/18/2016 Page 5 of 17

41 . Denied.
42. Denied.
43. Denied.
44. Denied.
45. Denied.
46. Denied.
47. Denied.
48. Denied.

Defendants deny that Plaintiff is entitled to any of the relief requested in the unnumbered
“WHEREFORE” clause following Paragraph 48 of Plaintiff’s Amended Complaint.

“COUNT IV - PLAINTIFF’S CLAIM OF GENDER DISCRIMINATION IN
VIOLATION OF THE FCRA AGAINST MATTRESS FIRM, INC.”

49. Defendants repeat and incorporate by reference its responses to Paragraphs l~l7
as if set forth in full herein

50. Defendants admit that Plaintiff is female. Otherwise, denied as to the legal

conclusion
5 l . Denied.
52. Denied.
53. Denied.
54. Denied.
55. Denied.
5 6 . Denied.
57. Denied.
58. Denied.

Case 1:16-CV-21317-.].]O Document 5 Entered on FLSD Docket 04/18/2016 Page 6 of 17

5 9. Denied.
Defendants deny that Plaintiff is entitled to any of the relief requested in the unnumbered
“WHEREFORE” clause following Paragraph 59 of Plaintiff s Complaint.

“COUNT V - PLAINTIFF’S CLAIM OF RETALIATION IN VIOLATION OF TITLE
VII AGAINST MATTRESS, INC.”

60. Defendants repeat and incorporate by reference their responses to Paragraphs l~l7

as if set forth in full herein

6l. Defendants admit that Plaintiff is female. OtherWise, denied as to the legal

conclusion
62. Denied.
63. Denied.
64. Denied.
65. Denied.
66. Denied.
67. Denied.

Defendants deny that Plaintiff is entitled to any of the relief requested in the unnumbered

“WHEREFORE” clause following Paragraph 67 of Plaintiff’s Complaint.

“COUNT VI - PLAINTIFF’S CLAIM ()F RETALIATION IN VIOLATION OF THE
FCRA AGAINST MAT'I`RESS, INC.”

6 8. Defendants repeat and incorporate by reference their responses to Paragraphs l-l7

as if set forth in full herein.

69. There is no factual averment in this paragraph, so no response is required. To the

extent this paragraph contains facts, they are denied.

Case 1:16-CV-21317-.].]O Document 5 Entered on FLSD Docket 04/18/2016 Page 7 of 17

7(). There is no factual averment in this paragraph, so no response is required To the

extent this paragraph contains facts, they are denied.

71 . Denied.
72. Denied.
73. Denied.
74. Denied.
75. Denied.

76. Defendants admit that Plaintiff requests punitive damages but deny that Plaintiff
is entitled to any such damages Gtherwise denied. Defendants specifically deny that that any
action has occurred that would entitle Plaintiff to punitive damages

77. Defendants admit that Plaintiff seeks attorneys’ fees and costs Defendants deny
that Plaintiff is entitled to same.

Defendants deny that Plaintiff is entitled to any of the relief requested in the unnumbered
“WHEREFORE” clause following Paragraph 77 of Plaintiff’ s Complaint.

“COUNT VII - BREACH OF AGREEMENT AGAINST MATTRESS, INC.”

78. Defendants repeat and incorporate by reference their responses to Paragraphs l-l7
as if set forth in full herein

79. Denied.

80. Denied.

Defendants deny that Plaintiff is entitled to any of the relief requested in the unnumbered

“WHEREFORE” clause following Paragraph 80 of Plaintiff s Complaint

Case 1:16-CV-21317-.].]O Document 5 Entered on FLSD Docket 04/18/2016 Page 8 of 17

“COUNT VIII ~ PLAINTIFF’S CLAIM OF OUANTUM MERUIT
AGAINST MATTRESS. INC.”

8l. Defendants repeat and incorporate by reference their responses to Paragraphs l-l7
as if set forth in full herein

82. Defendants admit only that Plaintiff, at certain relevant times, worked for
Mattress Firm in exchange for wages duly paid and other benefits duly provided as agreed
Otherwise, denied

83. Defendants admit only that Mattress firm was aware that Plaintiff, at certain
relevant times, worked for Mattress Firm in exchange for wages duly paid and other benefits
duly provided as agreed Otherwise, denied

84. Defendants admit only that Mattress firm was aware that Plaintiff, at certain
relevant times, worked for Mattress Firm in exchange for wages duly paid and other benefits
duly provided as agreed Otherwise, denied

85. Denied.

86. Defendants admit that Plaintiff seeks damages under quantum meruit for the
reasonable value of the services performed and provided to Mattress Firm, interest and costs, and
other damages deemed just by the Court. But Defendants aver that Plaintiff was properly paid
for all work performed, that Plaintiff has therefore not incurred any such damages, and that
Plaintiff is improperly seeking monies from Defendants Defendants specifically deny that that
any action has occurred that would entitle Plaintiff to the relief requested in this Paragraph.

Defendants deny that Plaintiff is entitled to any of the relief requested in the unnumbered

“WHEREFORE” clause following Paragraph 86 of Plaintiff s Complaint.

Case 1:16-CV-21317-.].]O Document 5 Entered on FLSD Docket 04/18/2016 Page 9 of 17

“COUNT IX - UNJUST ENRICHMENT AGAINST MATTRESS, INC.”

87. Defendants repeat and incorporate by reference their responses to Paragraphs l~l7
as if set forth in full herein

88. Defendants admit only that Plaintiff, at certain relevant times, worked for
Mattress Firm in exchange for wages duly paid and other benefits duly provided as agreed
Otherwise, denied

89. Defendants admit only that Plaintiff, at certain relevant times, worked for
Mattress Firm in exchange for wages duly paid and other benefits duly provided as agreed
Otherwise, denied

90. Defendants admit only that Mattress firm was aware that Plaintiff, at certain
relevant times, worked for Mattress Firm in exchange for wages duly paid and other benefits
duly provided as agreed Otherwise, denied

9l. Denied.

92. Defendants admit that Plaintiff seeks damages for the value of the work
performed for Mattress Firm. But Defendants aver that Plaintiff was properly paid for all work
performed, that Plaintiff has therefore not incurred any such damages, and that Plaintiff is
improperly seeking monies from Defendants Defendants specifically deny that that any action
has occurred that Would entitle Plaintiff to the relief requested in this Paragraph.

Defendants deny that Plaintiff is entitled to any of the relief requested in the unnumbered
“WHEREFORE” clause following Paragraph 92 of Plaintiff s Complaint.

“COUNT X - WAGE & HOUR FEDERAL STATUTORY VIOLATION AGAINST
MATTRESS, INC.”

93. Defendants repeat and incorporate by reference their responses to Paragraphs l~l7

as if set forth in full herein

Case 1:16-CV-21317-.].]O Document 5 Entered on FLSD Docket 04/18/2016 Page 10 of 17

94. Defendants admit that Plaintiff seeks to recover from Defendants for alleged
unpaid overtime and minimum wage compensation, as well as an additional amount as liquidated
damages, costs, and reasonable attorneys’ fees under the provisions of 29 U.S.C. § 207.
Defendant specifically denies that Plaintiff is entitled to the relief sought. The remainder of the
allegation is denied as a legal conclusion to which no response is required

95. Admitted.

96. Defendants admit only that, at certain relevant times, Mattress Firm engages in
interstate commerce and is covered by the FLSA. Otherwise, denied.

97. Defendants admit only that Mattress Firrn’s revenue per annum exceeds $
500,000, that it engages in interstate commerce, and that it is covered by the FLSA. Otherwise,
denied

98. Defendants admit only that Mattress Firm is an enterprise engaged in commerce
and is covered by the FLSA. Otherwise, denied

99. Defendants admit that Plaintiff seeks to recover for alleged unpaid wages
accumulated from the date of hire and/or from three (3) years from the date of the filing of her

complaint. Otherwise, denied Defendants specifically deny that Plaintiff is entitled to the relief

sought.
lOO. Denied.
101 . Denied.
102. Denied.

Defendants deny that Plaintiff is entitled to any of the relief requested in the unnumbered

“WHEREFORE” clause following Paragraph 102 of Plaintiff s Complaint.

10

Case 1:16-CV-21317-.].]O Document 5 Entered on FLSD Docket 04/18/2016 Page 11 of 17

“COUNT XI - WAGE & HOUR FEDERAL STATUTORY VIOLATION AGAINST
STAGNER R. STEPHEN”

103. Defendants repeat and incorporate by reference their responses to Paragraphs 1-17
as if set forth in full herein
104. Defendants admit that Stagner was and is, at relevant times, a corporate officer at

Mattress Firm. Otherwise, denied

105. Denied.
106 . Denied.
107. Denied.

Defendants deny that Plaintiff is entitled to any of the relief requested in the unnumbered
“WHEREFORE” clause following Paragraph 107 of Plaintiff’s Complaint.
“COUNT XII - FLSA RETALIATION VIOLATION AGAINST MATTRESS, INC.”
108. Defendants repeat and incorporate by reference their responses to Paragraphs l~l7
as if set forth in full herein
109. There is no factual averment in this paragraph, so no response is required To the

extent this paragraph contains facts, they are denied

1 10. Denied. \
1 1 l. Denied.
1 12. Denied.

Defendants deny that Plaintiff is entitled to any of the relief requested in the unnumbered
“WHEREFORE” clause following Paragraph 112 of Plaintiff s Complaint.
“JURY DEMAND”

113. Defendants admit that Plaintiff demands a jury trial.

11

Case 1:16-CV-21317-.].]O Document 5 Entered on FLSD Docket 04/18/2016 Page 12 of 17

“GENERAL DENIAL”

ll4. Defendants deny each and every allegation of fact and conclusion of law
contained in Plaintiff s Complaint that has not been expressly admitted in the foregoing
numbered paragraphs

DEFENSES AND AFFIRMATIVE DEFENSES

115. Plaintiffs Complaint fails, in Whole or in part, to state a claim upon which relief
may be granted

l 16. All actions taken with regard to Plaintiff’s employment were based on legitimate
business reasons totally unrelated to Plaintiff s sex or alleged protected activity.

117. All actions taken with regard to Plaintiff’s employment were for good cause and
taken in good faith.

ll8. Some or all of Plaintiff’s claims are barred to the extent that Plaintiff failed to file
a timely charge of discrimination with an appropriate fair employment practices agency, to await
a determination from such agency, or otherwise to file her complaint timely based on that
agency’s action or inaction on such charge.

ll9. Any recovery by Plaintiff must be reduced, in whole or in part, because and to the
extent that Plaintiff failed or refused to take reasonable efforts to mitigate Plaintiff’s damages

120. Plaintiff’s claims are barred, in whole or in part, because Mattress Firm has
exercised reasonable care to prevent and promptly correct any discriminatory or harassing
behavior, and Plaintiff unreasonably failed to take advantage of the preventive or corrective
opportunities provided or to otherwise avoid harm.

l21. Plaintiff’ s requests for punitive damages must fail because no managing agent of

Mattress Firm engaged in any discriminatory act or any act in violation of any statutorily-

12

Case 1:16-CV-21317-.].]O Document 5 Entered on FLSD Docket 04/18/2016 Page 13 of 17

protected rights with malice or reckless indifference to Plaintiff’ s statutorily-protected rights, and
because any violation of those rights is contrary to Defendants’ good-faith efforts to comply with
all applicable equal employment laws

122. Mattress Firm reserves the right to assert a mixed motive defense because, even if
Plaintiff proves that there was an improper motivating factor in the challenged employment
decision(s), the adverse employment decision at issue would have been made anyway even in the
absence of any such improper factor.

123. R. Stephen Stagner is not a proper party-defendant in this case.

124; R. Stephen Stagner is not a covered employer under the FLSA.

125. Plaintiff has been properly compensated for all hours worked

126. Plaintiff was paid properly for her work.

127. During all or part of Plaintiff’s employment, Plaintiff was exempt from the
overtime pay provisions of the Fair Labor Standards Act under the retail sales exemption under
Section 7(i) of the FLSA because Plaintiff worked in a retail sales establishment, earned more
than one and one half times the applicable minimum wage for all hours worked in a workweek
when overtime hours were Worked, and more than half of her total earnings were commissions
on goods or services

128. Defendants have at all times engaged in good-faith efforts to comply with
applicable law, and with reasonable belief that they were so complying, and any violation by
them, if any, was inadvertent and not willful or reckless, and consequently they are not liable for
liquidated damages and application of a three-year statute of limitations is not warranted

129. The damages of Plaintiff are limited by the provisions of the FLSA.

13

Case 1:16-CV-21317-.].]O Document 5 Entered on FLSD Docket 04/18/2016 Page 14 of 17

130. Without conceding that Plaintiff has suffered any damages as a result of any
alleged wrongdoing by Defendant, any recovery Plaintiff may be entitled to as a result of this
action must be off-set or reduced by overpayments made by Defendants to Plaintiff and/or by
any amounts of compensation and benefits that Plaintiff would not have otherwise received but
for any overtime work or by any amounts of compensation and benefits that Claimant received
for projects not performed or not performed properly.

131. Plaintiff"s claims and the time for which Plaintiff seeks compensation under the
FLSA are de minimis Plaintiff’s claims are thus barred by the de minimis doctrine

132. Some or all of Plaintiff’ s claims are barred or limited by the applicable statute of
limitations

133. Defendants reserve the right to assert such additional defenses as may appear
applicable during the course of this litigation

WHEREFORE, Defendants, Mattress Firm, Inc. and R. Stephen Stagner respectfully
request that this Court dismiss Plaintiff s Complaint with prejudice, award Defendants their costs
and reasonable attorney’s fees incurred in this action, and provide any such other and further

relief as this Court deems just and proper.

14

Case 1:16-CV-21317-.].]O Document 5 Entered on FLSD Docket 04/18/2016 Page 15 of 17

Dated this 18th day of April, 2016.

Respectfully submitted,

OGLETREE, DEAKINS, NASH,
SMOAK & STEWART, P.C.
701 Brickell Avenue, Suite 1600

, Miami, Florida 33131-2813

Telephone: 305.374.0506
Facsimile: 305.374.0456

s/ Paul De Boe

Christopher P. Hammon

Florida Bar No. 17675 3
chris.hammon@ogletreedeakins.com
Paul J. De Boe

Florida Bar Number 52051
paul.deboe@ogletreedeakins.com

, Counselfor Defendanis,
Mattress Firm, ]nc. and R. Stephen Stagner

15

Case 1:16-CV-21317-.].]O Document 5 Entered on FLSD Docket 04/18/2016 Page 16 of 17

CERTIFICATE OF SERVICE
l HEREBY CERTIFY that on April 18, 2016, l electronically filed the foregoing
document with the Clerk of the Court using CM/ECF. l also certify that the foregoing document
is being served this day on all counsel of record or pro se parties identified on the attached
Service List in the manner specified, either via transmission of Notices of Electronic Filing
generated by CM/ECF or in some other authorized manner for those counsel or parties who are

not authorized to receive electronically Notices of Electronic Filing.

MB_QU_IQBCE
Paul J. De Boe

16

Case 1:16-CV-21317-.].]O Document 5 Entered on FLSD Docket 04/18/2016 Page 17 of 17

SERVICE LIST

KATHERY LOBAINA v. AMTTRESS FIRM, INC. AND R. STEPHEN STAGNER
United States District Court, Southern District of Florida
CASE NO. 2016-CIV-21317-FAM

Peter M. Hoogerwoerd, Esq.
pmh@rgpattorneys.com

Waynice A. Green, Esq.
wgreen@rgpattorneys.com

REMER & GEORGES-PIERRE, PLLC

44 West Flagler Street

Suite 2200

Miami, Florida 33130

Telephone: 305.416.5000

Facsimile 305.416.5005

Counselfor Plainti]j’, Katherj) Lobaina

Method of Service: C.M/ECF

Christopher P. Hammon
chris.hammon@ogletreedeakins.com

Paul J. De Boe

paul.deboe@ogletreedeakins.com

OGLETREE, DEAKINS, NASH,
SMOAK & STEWART, P.C.

701 Brickell Avenue, Suite 1600

Miami, Florida 3 3131-2813

Telephone: 305.374.0506

Facsimile: 305.374.0456

Counselfor Defendanis,
Mattress Firm, Inc. and R. Stephen Stagner

24364000.4

17

